Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 1 of 14



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                                                CASE NO.:
  NOELLE ERACE, individually,

         Plaintiff,

  v.

  LR MIAMI AIRPORT HOTEL, LLC
  d/b/a PULLMAN MIAMI AIRPORT HOTEL
  a/k/a PULLMAN HOTEL AND RESORTS,
  a/k/a MIAMI PULLMAN HOTEL, a foreign
  limited liability company, and
  TPG HOTELS & RESORTS, INC., a foreign
  Corporation a/k/a TPG HOSPITALITY,

        Defendants.
  ________________________________________/

                       COMPLAINT AND DEMAND FOR JURY TRIAL

         Plaintiff, Noelle Erace (“Plaintiff” or “Erace”), sues Defendants, LR Miami Airport Hotel,

  LLC d/b/a Pullman Miami Airport Hotel a/k/a Pullman Hotel and Resorts a/k/a Miami Pullman

  Hotel (“Pullman”), a foreign limited liability company, and TPG Hotels & Resorts, Inc. a/k/a TPG

  Hospitality (“TPG”), a foreign corporation, (collectively referred to as “Defendants”) and alleges

  as follows:

                                        NATURE OF ACTION

         1.      Plaintiff brings this lawsuit against her former employers, Defendants, for engaging

  in illegal, discriminatory and retaliatory conduct in violation of the Family Medical Leave Act, 29

  U.S.C. § 2601, et. seq. (the “FMLA”), Title VII of the Civil Rights Act of 1964, as amended, 42

  U.S.C. § 2000e-2 and 42 U.S.C. § 1981a, and the Florida Civil Rights Act of 1992, Florida Statutes

  760.01, et. seq. Plaintiff was employed as a “Conference Service Manager” with Defendants.


                                                Page 1 of 14
                                          The Alderman Law Firm
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 2 of 14



  Plaintiff became pregnant and requested FMLA leave. Such FMLA leave was approved by

  Defendants. At the conclusion of the approved FMLA leave, Plaintiff returned to work. The very

  day Plaintiff returned to work from FMLA leave, Defendants decided to terminate Plaintiff, and

  they completed such termination a few days later. Plaintiff seeks reinstatement and damages, both

  compensatory and punitive, for the violations alleged herein.

                                    PARTIES, JURISDICTION & VENUE

         2.       Plaintiff is sui juris and a resident of Miami-Dade County, Florida.

         3.       Defendant, Pullman, is incorporated in the State of Delaware, and at all material

  times relevant to this action, has been authorized to do business in the State of Florida. Defendant’s

  principal place of business is located at 2140 South Dupont Highway, Camden, Delaware 19934.

  Plaintiff Pullman operates under various fictitious names, both registered and unregistered, in

  Florida.

         4.       Defendant, TPG, is incorporated in the State of Delaware, and at all material times

  relevant to this action, has been authorized to do business in the State of Florida. Defendant TPG’s

  principal place of business is located at 2140 South Dupont Highway, Camden, Delaware 19934.

         5.       Based upon information and belief, Defendant Pullman is the owner and operator

  of the “Pullman Miami Airport Hotel” located at 5800 Blue Lagoon Drive, Miami, Florida 33126

  (“Hotel”), while Defendant TPG manages the Hotel.

         6.       Defendants are affiliated or successor entities related to the operation, ownership,

  and management of the Hotel.

         7.       This Court has original jurisdiction over this claim pursuant to 28 U.S.C. § 1331 in

  that action asserted herein arises under the laws of the United States.




                                                 Page 2 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 3 of 14



         8.       Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. § 1391

  because- (i) Defendants own, operate, and manage the Hotel within said judicial district; and, (ii)

  a substantial part of the events and omissions giving rise to the claims asserted herein occurred

  exclusively within said judicial district.

         9.       All conditions precedent to the bringing and maintenance of this action have either

  occurred, been excused, or otherwise waived by Defendants.

          10.     Plaintiff has retained the undersigned law firm in connection with this case and is

  obligated to pay said firm a fee.

                                      GENERAL ALLEGATIONS

  A.     Plaintiff’s Employment with Defendants, Pregnancy and FMLA Leave.

         11.      On or about October 24, 2016, Plaintiff was hired by Defendants as an employee

  for the position of Conference Service Manager in the Sales and Marketing Department at the

  Hotel. At all times material hereto, Plaintiff faithfully, diligently and competently discharged her

  employment duties as Conference Service Manager.

         12.      In or about August of 2018, Plaintiff requested leave under the FMLA due to the

  impending birth of her child.

         13.      Plaintiff’s request for FMLA leave was made at least thirty (30) days before the

  FMLA leave was scheduled to begin.

         14.      Defendants approved Plaintiff’s FMLA leave request.

         15.      Plaintiff commenced her approved FMLA leave in or about November of 2018.

         16.      On or about January 24, 2019, while on FMLA leave, Plaintiff requested the

  opportunity to work part-time or remotely for a short period of time once her FMLA leave expired.




                                                 Page 3 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 4 of 14



         17.      In response to Plaintiff’s request, Emma Baly, the Director of Human Resources

  for the Hotel, consulted with Dan McDermott, the General Manager of the Hotel, and Adam Leon,

  the Director of Sales and Marketing of the Hotel. Emma Baly advised Plaintiff, in writing, that

  the demands of the position of Conference Service Manager would not permit any opportunity to

  work part-time or remotely.

         18.      Plaintiff confirmed, via email, to Defendants that she would return to work full-

  time at the Hotel at the conclusion of her approved FMLA leave. Emma Baly responded by saying

  “Great News! Thank you for letting us know.”

         19.      On or about February 6, 2019, Emma Baly and Adam Leon contacted Plaintiff via

  telephone. During this call, Defendants once again reminded Plaintiff of the full-time demands of

  the position of Conference Service Manager, and they requested assurance from Plaintiff that she

  could meet the demands of a full-time position. Plaintiff assured Defendants on this telephone call

  that she could meet the demands of the full-time position, and Plaintiff again reconfirmed to

  Defendants that she would return full-time at the conclusion of her FMLA leave. Defendants

  verified that Plaintiff would be reinstated to her position upon return from FMLA leave.

  B.     Plaintiff’s Return to Work and Termination.

         20.      On or about Monday, February 11, 2019, Plaintiff returned to work at the Hotel

  full-time as the Conference Service Manager. The very same day, Emma Baly, the Hotel’s

  Director of Human Resources, and Dan McDermott, the General Manager of the Hotel, prepared

  a “Reduction in Force Request Form” (“RIF”). According to the RIF, Plaintiff’s position was the

  only position to be eliminated at the Hotel. Such RIF was prepared as a pretext for the unlawful

  termination of Plaintiff.




                                                 Page 4 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 5 of 14



         21.      Later the same day, Dan McDermott emailed the RIF to Nicholas Bilotta, Senior

  Vice President of Operations of TPG, to obtain approval of Plaintiff’s termination. Nicholas

  Bilotta approved Plaintiff’s termination and emailed the RIF to Dara Morreo, Vice President of

  Human Resources of TPG, for approval. The same day, Dara Morreo, in turn, approved Plaintiff’s

  termination.

         22.      Nicholas Bilotta immediately emailed Dan McDermott and told him to notify

  Plaintiff of her termination on February 15, 2019.

         23.      On February 15, 2019, Plaintiff was notified of her termination during a meeting

  with Emma Baly, Dan McDermott and Adam Leon. During such termination meeting, Plaintiff

  was advised that the “new ownership” of the Hotel decided to terminate her and that it had nothing

  to do with any performance issues because Plaintiff was very talented. At the conclusion of this

  termination meeting, Plaintiff was given a “Letter of Good Standing” confirming that she was not

  terminated for any performance issues.

         24.      No other Hotel employees were terminated on February 15, 2019.

         25.      In conjunction with terminating Plaintiff’s employment, Defendants terminated

  Plaintiff’s company-paid group health benefits/insurance the same day – February 15, 2109. Such

  termination of insurance meant that she had no medical insurance coverage for herself or her

  newborn infant as of the date of her termination. The immediate loss of such insurance caused

  considerable humiliation, embarrassment, and mental anguish and suffering to Plaintiff, due to the

  stress of worrying that her newborn infant did not have medical insurance coverage to address

  immediate medical needs.

         26.      As of February 15, 2019, there was an open position at the Hotel in catering sales,

  and Plaintiff was qualified for that position. Defendants failed to offer Plaintiff this open position.


                                                 Page 5 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 6 of 14



                                             -COUNT I-
                                       (FMLA INTERFERENCE)

         Plaintiff sues Defendants and alleges as follows:

         27.      Plaintiff re-alleges and reincorporates paragraphs 2 through 26 as though fully set

  forth herein.

         28.      Defendants were both engaged in commerce or in an industry or activity affecting

  commerce and employed more than 50 employees for each working day during each of 20 or more

  calendar weeks in each calendar year relevant hereto.

         29.      Defendants, jointly and severally, were Plaintiff’s direct employers, joint

  employers and/or co-employers for purposes of the FMLA, as the term “employer” is defined by

  29 C.F.R. § 825.106. Alternatively, Defendants are integrated employers for purposes of the

  FMLA.

         30.      Defendants qualify as an employer under the FMLA.

         31.      Plaintiff was eligible for FMLA leave.

         32.      Plaintiff was entitled to leave under the FMLA for a qualifying reason.

         33.      Plaintiff gave proper notice to Defendants of the need for FMLA leave.

         34.      Plaintiff took FMLA leave.

         35.      Under 29 U.S.C. § 2614(a)(1), Plaintiff was entitled to be restored to her position

  as Conference Service Manager (with its corresponding benefits) or an equivalent position (with

  equivalent pay and benefits) upon return from FMLA leave.

         36.      Defendants interfered with Plaintiff FMLA’s right under 29 U.S.C. § 2614(a)(1),

  by failing to restore Plaintiff to her position as Conference Service Manager or an equivalent

  position.



                                                 Page 6 of 14
                                           The Alderman Law Firm
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 7 of 14



         37.      Defendants’ interference with Plaintiff’s FMLA rights violated 29 U.S.C. §

  2615(a)(1).

         WHEREFORE, Plaintiff respectfully requests that this Court:

         A.       Issue a judicial declaration that Defendants are liable under the FMLA, 29 U.S.C.

                  § 2617(a), for all past, present and future lost wages, employment benefits and other

                  costs incurred by Plaintiff in connection with Plaintiff’s termination of employment

                  by Defendants.

         B.       Award Plaintiff statutory damages for lost wages, benefits, and other compensation,

                  plus interest thereon at the statutory rate, pursuant to 29 U.S.C. § 2617(a)(1)(A)(i)

                  and 29 U.S.C. § 2617(a)(1)(A)(ii);

         C.       Award Plaintiff additional liquidated damages in the amount of the above-requested

                  award, pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii);

         D.       Award Plaintiff equitable relief in the form of reinstatement or front pay, as the

                  court deems appropriate, pursuant to 29 U.S.C. § 2617(a)(1)(B); and,

         E.       Award Plaintiff attorney’s fees and costs of this action, pursuant to 29 U.S.C. §

                  2617(a)(3), and such other relief as this Court may deem just and proper.

                                            -COUNT II-
                                        (FMLA RETALIATION)

         Plaintiff sues Defendants and alleges as follows:

         38.      Plaintiff re-alleges and reincorporates paragraphs 2 through 26 as though fully set

  forth herein.

         39.      Defendants were both engaged in commerce or in an industry or activity affecting

  commerce and employed more than 50 employees for each working day during each of 20 or more

  calendar weeks in each calendar year relevant hereto.

                                                 Page 7 of 14
                                           The Alderman Law Firm
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 8 of 14



            40.     Defendants, jointly and severally, were Plaintiff’s direct employers, joint

  employers and/or co-employers for purposes of the FMLA, as the term “employer” is defined by

  29 C.F.R. § 825.106. Alternatively, Defendants are integrated employers for purposes of the

  FMLA.

            41.     Defendants qualify as an employer under the FMLA.

            42.     Plaintiff was eligible for FMLA leave.

            43.     Plaintiff gave proper notice to Defendants of the need for FMLA leave.

            44.     Plaintiff was entitled to leave under the FMLA for a qualifying reason.

            45.     Plaintiff took FMLA leave.

            46.     Plaintiff engaged in FMLA protected activity.

            47.     The very day that Plaintiff returned to work from FMLA leave, Defendants decided

  to terminate Plaintiff, and Plaintiff was terminated a few days later.

            48.     Defendants terminated Plaintiff because she exercised her right to take FMLA

  leave.

            49.     Defendants intentionally discriminated against Plaintiff for exercising her FMLA

  rights.

            50.     Defendants’ discrimination against Plaintiff violated 29 U.S.C. § 2615(a)(2).

            WHEREFORE, Plaintiff respectfully requests that this Court:

            A.      Issue a judicial declaration that Defendants are liable under the FMLA, 29 U.S.C.

                    § 2617(a), for all past, present and future lost wages, employment benefits and other

                    costs incurred by Plaintiff in connection with Plaintiff’s termination of employment

                    by Defendants.




                                                   Page 8 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 9 of 14



         B.       Award Plaintiff statutory damages for lost wages, benefits, and other compensation,

                  plus interest thereon at the statutory rate, pursuant to 29 U.S.C. § 2617(a)(1)(A)(i)

                  and 29 U.S.C. § 2617(a)(1)(A)(ii);

         C.       Award Plaintiff additional liquidated damages in the amount of the above-requested

                  award, pursuant to 29 U.S.C. § 2617(a)(1)(A)(iii);

         D.       Award Plaintiff equitable relief in the form of reinstatement or front pay, as the

                  court deems appropriate, pursuant to 29 U.S.C. § 2617(a)(1)(B); and,

         E.       Award Plaintiff attorney’s fees and costs of this action, pursuant to 29 U.S.C.

                  § 2617(a)(3), and such other relief as this Court may deem just and proper.

                                -COUNT III-
  (VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, AS AMENDED)

         Plaintiff sues Defendants and alleges as follows:

         51.      Plaintiff re-alleges and reincorporates paragraphs 2 through 26 as though fully set

  forth herein.

         52.      At all relevant times, Defendants have continuously been doing business in Miami,

  Florida, have continuously had at least 15 employees, and have been an employer within the

  meaning of 42 U.S.C. §§2000e(b), (g) and (h).

         53.      Defendants operate as an integrated enterprise or single employer by virtue of their

  common management, the interrelations of their operations, the interrelations of their finances, the

  centralized control over their labor relations, their common ownership, their successor liability

  and/or their delegated responsibility.

         54.      Defendants violated Title VII by discriminating against Plaintiff, as outlined above,

  on the basis of sex.



                                                 Page 9 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 10 of 14



         55.      Based upon the intent and purpose of the February 6, 2019 telephone call discussed

  above, Defendants believed that Plaintiff could not meet the demands of her position as Conference

  Service Manager due to her care-taking responsibilities.

         56.      At all times relevant to the Complaint, Defendants engaged in unlawful

  employment practices in violation of Section 703 of Title VII, 42 U.S.C. 2000e-2 by wrongfully

  terminating Plaintiff because of her sex.

         57.      The unlawful employment practices complained of herein were intentional.

         58.      The unlawful employment practices, complained of herein, were done with malice

  or with reckless indifference to Plaintiff’s federally protected rights.

         WHEREFORE, Plaintiff respectfully requests that this Court:

         A.       Order Defendants to make whole Plaintiff, who was wrongfully terminated on the

                  basis of her sex, by providing appropriate lost wages and back pay with

                  prejudgment interest, in amounts to be determined at trial, and other affirmative

                  relief necessary to eradicate the effects of these unlawful employment practices

                  including, but not limited to, reinstatement or front pay in lieu thereof;

         B.       Order Defendants to make whole Plaintiff, who was wrongly terminated on the

                  basis of her sex by providing compensation for past and future pecuniary losses

                  resulting from the unlawful employment practices described in this action

                  including, but not limited to, relocation expenses, job search expenses, medical

                  expenses, penalties for defaulting on loans, moving expenses and the like, in

                  amounts to be determined at trial;

         C.       Order Defendants to make whole Plaintiff, who was wrongly terminated on the

                  basis of her sex by providing compensation for past and future nonpecuniary losses


                                                Page 10 of 14
                                           The Alderman Law Firm
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 11 of 14



                  resulting from the unlawful practices complained of in this action including, but not

                  limited to, emotional and/or physical pain, suffering and mental anguish,

                  humiliation, and loss of enjoyment of life, and the like, in amounts to be determined

                  at trial;

          D.      Order Defendants to pay Plaintiff, who was wrongly terminated on the basis her

                  sex, punitive damages for Defendants’ malicious and reckless conduct, as described

                  in this action, in amounts to be determined at trial;

          E.      Award Plaintiff her attorneys’ fees and costs of this action pursuant to 42 U.S.C.

                  §1988; and,

          F.      Grant such further relief as the Court deems necessary and proper in the public

                  interest.

                           -COUNT IV-
   (UNLAWFUL EMPLOYMENT PRACTICES UNDER § 760.10, FLORIDA STATUTES)

          Plaintiff sues Defendants and alleges as follows:

          59.     Plaintiff re-alleges and reincorporates paragraphs 2 through 26 and 51 through 52

  as though fully set forth herein.

         60.      Count IV is a state law claim for damages brought pursuant to the Florida Civil

  Rights Act of 1992, Fla. Stat. § 760.01, et. seq.

         61.      Section 760.10(1), Florida Statutes, reads in applicable part: “[i]t is an unlawful

  employment practice for an employer: (a) To discharge or to fail or refuse to hire any individual,

  or otherwise to discriminate against any individual with respect to compensation, terms,

  conditions, or privileges of employment, because of such individual’s …. sex…”

         62.      At all times material hereto, Defendants engaged in unlawful employment practices

  in violation of Fla. Stat. § 760.10.

                                                Page 11 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 12 of 14



           63.     By subjecting Plaintiff to discriminatory employment practices, Defendants acted

  with intent, malice and with reckless disregard for Plaintiff’s protected rights under state and

  federal law.

           64.     The unlawful employment practices, complained of herein, were done despite

  Plaintiff’s qualifications for the job.

           65.     Defendants treated Plaintiff differently than those outside Plaintiff’s protected

  class.

           66.     As a direct and proximate cause of Defendants’ intentional conduct, Plaintiff

  suffered serious economic losses as well as mental pain and suffering.

           WHEREFORE, Plaintiff respectfully requests that this Court:

           A.      Order Defendants to make whole Plaintiff, who was wrongfully discharged or

                   terminated, by providing appropriate lost wages and back pay, with prejudgment

                   and post-judgment interest, in amounts to be determined at trial, and other

                   affirmative relief necessary to eradicate the effects of these unlawful employment

                   practices including, but not limited to, reinstatement or front pay in lieu thereof;

           B.      Order Defendants to make whole Plaintiff, who was wrongly discharged or

                   terminated, by providing compensation for past and future pecuniary losses

                   resulting from the unlawful employment practices described in this action

                   including, but not limited to, relocation expenses, job search expenses, medical

                   expenses, penalties for defaulting on loans, moving expenses and the like, in

                   amounts to be determined at trial;

           C.      Order Defendants to make whole Plaintiff, who was wrongly discharged or

                   terminated, by providing compensation for past and future nonpecuniary losses


                                                 Page 12 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 13 of 14



                resulting from the unlawful practices complained of in this action including, but not

                limited to, emotional and/or physical pain, suffering and mental anguish,

                humiliation, and loss of enjoyment of life, and the like, in amounts to be determined

                at trial;

        D.      Order Defendants to cancel and expunge all unwarranted personnel action and any

                adverse materials relating to the Defendants’ discriminatory practices;

        E.      Order Defendants to pay Plaintiff, who was wrongly discharged or terminated,

                punitive damages for Defendants’ malicious and reckless conduct, as described in

                this action, in amounts to be determined at trial;

        F.      Award Plaintiff any relief allowable pursuant to Fla. Stat. § 760.11(5);

        G.      Award Plaintiff her attorneys’ fees and costs of this action pursuant to Fla. Stat. §

                760.11(5); and,

        H.      Grant such further relief as the Court deems necessary and proper in the public

                interest.

                                   DEMAND FOR JURY TRIAL

        Plaintiff respectfully requests a trial by jury on all issues so triable.



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                                              Page 13 of 14
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Case 1:20-cv-20156-FAM Document 1 Entered on FLSD Docket 01/14/2020 Page 14 of 14



                                                  Respectfully submitted,
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                                              Page 14 of 14
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